
845 So.2d 1059 (2003)
Gordean Adella WINGFIELD, Individually and as Guardian and Conservator of the Estate of Her Major Son, Kenny Clark
v.
STATE of Louisiana, Through the DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT, Wilson Trailer Company, Inc. and National Union Fire Insurance Company of Pittsburgh, PA.
Jackie Murray, Sharon Ray Rovner, Ivy J. Wills as Legal Guardian and Attorney for Joseph Edward Wingfield and Joseph Edward Wingfield
v.
State of Louisiana, Through the Department of Transportation and Development and Wilson Trailer Company, Inc.
No. 2003-C-0313.
Supreme Court of Louisiana.
May 30, 2003.
Denied.
